Case 1:15-cv-02312-WYD-KMT Document 69 Filed 10/28/16 USDC Colorado Page 1 of 3




                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Case No. 1:15-cv-02312-WYD-KMT

  DUSTIN A. KELTIE,

         Plaintiff,

  v.

  TAYLOR & HALL TRANSPORT, LLC; FREIGHT LOGISTICS & TRANSPORTATION,
  INC.; and JOHN S. BRIDGES, individually.

         Defendants.


                                   NOTICE OF SETTLEMENT


         Plaintiff, Dustin A. Keltie, by and through his attorneys, Jeremy A. Sitcoff and Bradley A.

  Levin of LEVIN SITCOFF PC, and Molly Greenblatt and Bruce A. Braley of LEVENTHAL &

  PUGA, P.C., hereby notify the Court that the above-captioned matter has been settled, and each

  party to bear his or its attorney fees and costs. The parties anticipate filing a stipulation for

  dismissal with prejudice in the next thirty days.

         Dated this 28th day of October 2016.

                                                Respectfully submitted,

                                                s/ Jeremy A. Sitcoff
                                                Bradley A. Levin
                                                Jeremy A. Sitcoff
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Case 1:15-cv-02312-WYD-KMT Document 69 Filed 10/28/16 USDC Colorado Page 2 of 3




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                                       2
Case 1:15-cv-02312-WYD-KMT Document 69 Filed 10/28/16 USDC Colorado Page 3 of 3




                                  CERTIFICATE OF DELIVERY

          I hereby certify that on this 28th day of October 2016 a true and correct copy of the foregoing
  NOTICE OF SETTLEMENT was electronically filed with the Clerk of the Court using the
  CM/ECF system and served on the following by the method indicated which will send notification
  of said filing to the following:

   James M. Dieterich, Esq.                             ( )   via U.S. Mail
   Adam Goldstein, Esq.                                 ( )   via Hand Delivery
   White and Steele, P.C.                               ( )   via Facsimile
   Dominion Towers, North Tower                         ( )   via Overnight Mail
   600 17th Street, Suite 600N                          (x)   via Email
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   Counsel for Defendant John S. Bridges


   Seth A. Rider, Esq,                                  ( )   via U.S. Mail
   Amy Johnson, Esq.                                    ( )   via Hand Delivery
   Baldwin Morgan & Rider, P.C.                         ( )   via Facsimile
   1512 Larimer St., Suite 450                          ( )   via Overnight Mail
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   Attorneys for Defendant Taylor & Hall
   Transport, LLC

                                                          s/ Nicole R. Peterson
                                                          Nicole R. Peterson




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